 Fill in this information to identify the case:

 Debtor 1              Jeffrey S. Krauss
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________              MI
                                                                District of __________
                                                                             (State)
 Case number            16-54772-tjt
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Igloo Series IV Trust
 Name of creditor: _______________________________________                                                           14
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0837____ ____ ____
                                                         ____                            Must be at least 21 days after date       02        2021
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          475.54
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             196.32
                   Current escrow payment: $ _______________                           New escrow payment:           121.45
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


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Debtor 1         Jeffrey S. Krauss
                 _______________________________________________________                                               16-54772-tjt
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    12 30 2020
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               JEFFREY S KRAUSS
               2846 COOPER AVE
               PORT HURON MI 48060



Analysis Date: December 17, 2020                                                                                                                         Final
Property Address: 2846 COOPER AVENUE PORT HURON, MI 48060                                                                              Loan:
                                     Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Jan 2020 to Jan 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Feb 01, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                  354.09                  354.09                   Due Date:                                       Feb 01, 2020
 Escrow Payment:                            196.32                  121.45                   Escrow Balance:                                     (420.67)
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                        2,355.84
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                       $1,935.17
  Total Payment:                              $550.41                    $475.54


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                  Starting Balance                    0.00      (2,152.58)
      Jan 2020                          785.28                               *                                        0.00      (1,367.30)
      Mar 2020                          392.64                               *                                        0.00        (974.66)
      Apr 2020                          196.32                               *                                        0.00        (778.34)
      Apr 2020                          440.85                               *                                        0.00        (337.49)
      May 2020                          196.32                               *                                        0.00        (141.17)
      Jun 2020                          196.32                               *                                        0.00          55.15
      Jul 2020                          196.32                               *                                        0.00         251.47
      Jul 2020                                                      1,338.45 * City/Town Tax                          0.00      (1,086.98)
      Aug 2020                          196.32                               *                                        0.00        (890.66)
      Sep 2020                          196.32                               *                                        0.00        (694.34)
      Oct 2020                          196.32                               *                                        0.00        (498.02)
      Nov 2020                          196.32                               *                                        0.00        (301.70)
      Dec 2020                                                        118.97 * City/Town Tax                          0.00        (420.67)
                                                                               Anticipated Transactions               0.00        (420.67)
      Dec 2020                    2,159.52                                                                                       1,738.85
      Jan 2021                      196.32                                                                                       1,935.17
                           $0.00 $5,545.17               $0.00     $1,457.42

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.



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Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.
(The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
are made the month the analysis is processed).




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Analysis Date: December 17, 2020                                                                                                                  Final
Borrower: JEFFREY S KRAUSS                                                                                                          Loan:
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             1,935.17          852.65
      Feb 2021              121.45                                                                         2,056.62          974.10
      Mar 2021              121.45                                                                         2,178.07        1,095.55
      Apr 2021              121.45                                                                         2,299.52        1,217.00
      May 2021              121.45                                                                         2,420.97        1,338.45
      Jun 2021              121.45                                                                         2,542.42        1,459.90
      Jul 2021              121.45        1,338.45            City/Town Tax                                1,325.42          242.90
      Aug 2021              121.45                                                                         1,446.87          364.35
      Sep 2021              121.45                                                                         1,568.32          485.80
      Oct 2021              121.45                                                                         1,689.77          607.25
      Nov 2021              121.45                                                                         1,811.22          728.70
      Dec 2021              121.45           118.97           City/Town Tax                                1,813.70          731.18
      Jan 2022              121.45                                                                         1,935.15          852.63
                         $1,457.40       $1,457.42

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 242.90. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 242.90 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 1,935.17. Your starting
      balance (escrow balance required) according to this analysis should be $852.65. This means you have a surplus of 1,082.52.
      (The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
      are made the month the analysis is processed).

      This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
      it and lowering your monthly payments accordingly. As the loan is delinquent, we will not be sending a check for the surplus.

      We anticipate the total of your coming year bills to be 1,457.42. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: December 17, 2020                                                                                                       Final
Borrower: JEFFREY S KRAUSS                                                                                               Loan:

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                      121.45
      Surplus Amount:                                  0.00
      Shortage Amount:                                 0.00
      Rounding Adjustment Amount:                      0.00
      Escrow Payment:                               $121.45




     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
     payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
     Street, Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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